
392 U.S. 653 (1968)
PUENTES
v.
BOARD OF EDUCATION OF UNION FREE SCHOOL DISTRICT NO. 21.
No. 562.
Supreme Court of United States.
Decided June 17, 1968.
APPEAL FROM THE COURT OF APPEALS OF NEW YORK.
Ernest Fleischman for appellant.
Leo F. McGinity for appellee.
PER CURIAM.
The judgment is vacated and the case is remanded to the Court of Appeals of New York for further consideration in light of Pickering v. Board of Education, 391 U. S. 563.
MR. JUSTICE BLACK and MR. JUSTICE DOUGLAS are of the opinion that the judgment should be reversed.
MR. JUSTICE HARLAN is of the opinion that probable jurisdiction should be noted and the case set for oral argument.
